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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                  BID PROTEST

CONTINENTAL SERVICE GROUP, INC.,   )
and PIONEER CREDIT RECOVERY,       )
INC.,                              )
           Plaintiff,
           Plaintiffs,             )
                                   )
            and                    )
                                   )
COLLECTION TECHNOLOGY, INC.,       )
PERFORMANT RECOVERY, INC.,         )
ALLTRAN EDUCATION, INC., and       )
PROGRESSIVE FINANCIAL SERVICES, )
INC.,                              )
                                   )
            Plaintiff-Intervenors, )
                                   )
            v.                     )                Nos. 17-449C; 17-499C; 17-493C; 17-517C
                                   )                     17-578C; 17-558C; 17-633C
THE UNITED STATES,                 )                Consolidated
                                   )                Judge Wheeler
              Defendant,           )
                                   )
              and                  )
                                   )
CBE GROUP, INC.,                   )
FINANCIAL MANANGEMENT              )
  SYSTEMS, INC.,                   )
GC SERVICES LIMITED                )
      PARTNERSHIP,                 )
PREMIERE CREDIT of NORTH           )
      AMERICA, LLC,                )
VALUE RECOVERY HOLDINGS, LLC, )
             and                   )
WINDHAM PROFESSIONALS, INC.,       )
                                   )
            Defendant-Intervenors. )

          DEFENDANT’S NOTICE OF COMPLETION OF CORRECTIVE ACTION

       Defendant, the United States, respectfully provides notice to the Court regarding the

status of the Department of Education’s corrective action in these protests.
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       On January 11, 2018, the Department of Education completed its corrective action. The

Department evaluated revised proposals, prepared and documented a new source selection

decision, and awarded contracts to Performant Recovery, Inc. and Windham Professionals,

Inc., the two offerors whose proposals were determined to be the most advantageous to the

Government. Also on January 11, 2018, the Department of Education issued notices of

termination for the convenience of the Government of seven contracts issued on December 9,

2016 (The CBE Group, Inc., Financial Management Systems Investment Corporation, GC

Services Limited Partnership, Premiere Credit of North America, LLC, Value Recovery

Holdings, LLC, Windham Professionals, Inc., and Transworld Systems, Inc.). Finally, the

Department of Education is proceeding to send out the appropriate notifications to the

unsuccessful offerors.

                                                    Respectfully submitted,

                                                    CHAD A. READLER
                                                    Acting Assistant Attorney General

                                                    ROBERT E. KIRSCHMAN, JR.
                                                    Director

                                                    s/ Patricia M. McCarthy

                                                    PATRICIA M. McCARTHY
                                                    Assistant Director




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                                         s/ Lauren S. Moore

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Office of the General Counsel
U.S. Department of Education             Attorneys for Defendant

January 11, 2018




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